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IN THE uNtTED sTATEs DISTRICT COURT n-j‘_i g 5 gm
FoR THE SOUTH ERN DISTRICT oF IOWA

Cl.EE'€.'i ",‘; .'.-l\J`i_RlCT COURT
SUUTHEHN .'.'llSTHlCT OF iUW.'\

UNITED STATES OF AMERICA, )
) Criminal No. l:l?-cr-043
v. § INDICTMENT
ANDREW J. SIMET, § T. lS, U.S.C. § 8?5(0)
Defendant. §
THE GRAND JURY CHARGES:
COUNT l

(lnterstate Communication of a Threat)

On or between .lune l?, 201? and Jttne 24, 201 ?, in the Southern District oflowa and
elsewhere, the defendant, AN DREW J. SlM ET, did transmit in interstate or foreign commerce a
communication, specifically, the defendant posted on a social media site and sent e-mails
containing language the defendant knew to be a threat, and knowing that the social media posts
and e-mail would be viewed as threats, to injure the person of anotlter, to wit, A.D and M.E.,
employees of the State ot` Iowa.

This is a violation of Title 18, United States Code, Section 875(€).

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A TRUE BILL.

t‘d`§st'>ERsoN

By'

 

 

Assistant United States Attorney

